             Case 2:19-cv-00510-RAJ Document 141 Filed 10/28/21 Page 1 of 2




 1

 2

 3

 4

 5
                             UNITED STATES DISTRICT COURT
 6
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   ROBERT ALBERT,
 9                            Plaintiff,                Case No. C19-510 RAJ

10          v.                                          ORDER
11
     LABORATORY CORPORATION OF
12
     AMERICA,

13                            Defendant.

14
            Having reviewed the Report and Recommendation of the Honorable Michelle L.
15
     Peterson, United States Magistrate Judge, any objections or responses to that, and the
16

17
     remaining record, the Court finds and ORDERS:

18          (1)    The Court ADOPTS the Report and Recommendation.

19          (2)    Defendant’s motion for summary judgment (Dkt. # 110) is DENIED.

20          (3)    Plaintiff’s motion for partial summary judgment (Dkt. # 106) is DENIED in

21   part and GRANTED in part. Defendant’s counterclaims are DISMISSED. Defendant’s
22   affirmative defenses for failure to state a claim, statute of limitations, reasonable care,
23
     and unclean hands are DISMISSED.



     ORDER - 1
             Case 2:19-cv-00510-RAJ Document 141 Filed 10/28/21 Page 2 of 2




 1         The Clerk is directed to send copies of this Order to the parties and to Judge

 2   Peterson.
 3         Dated this 28th day of October, 2021.
 4

 5

 6                                                   A
 7                                                   The Honorable Richard A. Jones
                                                     United States District Judge
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23




     ORDER - 2
